      Case: 3:20-cv-00057-MPM-RP Doc #: 149 Filed: 12/20/21 1 of 3 PageID #: 3419




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

SAMANTHA CONNER                                                            PLAINTIFF


vs.                                            CIVIL ACTION NO. 3:20-CV-057-MPM-RP


ALLTIN, LLC, JAMES E. BROOKS, KEVIN CASTEEL,
WILLIE A. “SONNY” SANDERS, IN HIS OFFICIAL
CAPACITY AS THE DULY ELECTED CONSTABLE OF
LOWNDES COUNTY, AND WILLIE A. “SONNY”
SANDERS IN HIS INDIVIDUAL CAPACITY                                       DEFENDANTS


                                        ORDER

        On December 16, 2021, the Mississippi Attorney General (AG) notified this

court that she would not be pursuing the interlocutory appeal which it had certified

in its November 30, 2021, order declaring certain Mississippi eviction statutes

unconstitutional. In expressing her intent in this regard, the AG wrote that it was

her “understanding that outside interest groups and/or other individuals may pursue

legislative changes to the current eviction statutes in the legislative session

commencing January 4, 2022” and that “this Court has on several occasions

encouraged the Mississippi Legislature to pursue a legislative remedy here.”

[AG’s notice at 1]. The AG is correct that this court has strongly urged the

Legislature to revise the eviction statutes in question, and it is encouraged by her

suggestion that this may come to pass in the upcoming legislative session.



                                           1
   Case: 3:20-cv-00057-MPM-RP Doc #: 149 Filed: 12/20/21 2 of 3 PageID #: 3420




       While this court believes that the AG’s decision not to pursue an

interlocutory appeal may provide additional incentive for the Legislature to act

responsibly in this regard, that decision also raises questions regarding the stay

pending appeal which was part of its November 30 order. [Slip op. at 41]. In its

order issuing the stay, this court wrote that “[i]n the court’s view, there would

likely be serious disruptions to the housing market in this state if Mississippi’s

eviction statutes were declared unconstitutional without the Legislature having

been given a full opportunity to pass revised statutes.” [Id. at 41, footnote 12].

       This court still has the same concern today, and it is therefore inclined to

keep the previously-entered stay in effect for such a period of time as will allow

the Legislature, acting with all deliberate speed, to pass revised eviction statutes.

While this court is fully prepared to lift the stay even before the Legislature has

made such revisions, it considers it proper to first give it a fair opportunity to act in

this regard. However, the question remains exactly how long a period of time will

suffice in this regard. This court is not without its own legislative experience to

call upon in making a determination in this regard, but it believes it proper to also

give all the parties, as well as amicus counsel, an opportunity to provide their own

input on this issue. This court will therefore give the parties until Friday,

December 31, 2021, to submit any arguments which they might have on the proper

timing of the lifting of the stay in this case.

                                            2
   Case: 3:20-cv-00057-MPM-RP Doc #: 149 Filed: 12/20/21 3 of 3 PageID #: 3421




      It is therefore ordered that the parties, as well as amicus counsel, shall have

until December 31, 2021, to submit any briefing on the issue of the lifting of the

stay previously entered in this case.

      This, the 20th day of December, 2021.



                                        /s/ MICHAEL P. MILLS
                                        UNITED STATES DISTRICT JUDGE
                                        NORTHERN DISTRICT OF MISSISSIPPI




                                          3
